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                                                      U.S. District Court


                                                 California Northern - Oakland

                                                                                                           Receipt Date: Feb 24. 2025 12:01PM
Louis Jay Milne
295 29th Street. Unit 711
Oakland. CA 94611



 Rcpt. No: 411018410                               Trans. Date: Feb 24, 2025 12;01PM                                  Cashier ID: #KM (6442)

 CD        Purpose                                 Case/Party/Defendant                       Qty                    Price                Amt


 200      Civil Filing Fee- Non-Prisoner                                                        1                   405.00             405.00




 CD       Tender                                                                                                                          Amt


 CC        Credit Card                                                                                                                $405.00

                                                                             Total Due Prior to Payment:                              $405.00

                                                                                         Total Tendered;                              $405.00

                                                                                    Total Cash Received:                                 $0.00


 Comments: 25-cv-1918-DMR (fbo Cathy j. Fitzpatrick_



 Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
 will be charged for a returned check.
